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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


      ALEJANDRO MENOCAL,
      MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
      GRISEL XAHUENTITLA,
      HUGO HERNANDEZ,
      LOURDES ARGUETA,
      JESUS GAYTAN,
      OLGA ALEXAKLINA,
      DAGOBERTO VIZGUERRA, and
      DEMETRIO VALERGA
      on their own behalf and on behalf of all others
      similarly situated,
                                 Plaintiffs,

               v.

      THE GEO GROUP, INC.,

                                    Defendant.


      DECLARATION OF MICHAEL SCIMONE IN SUPPORT OF PLAINTIFFS’
                        MOTION TO COMPEL


          I, Michael Scimone, pursuant to 28 U.S.C. § 1746, declare under penalty of

   perjury as follows:

          1.        I am an attorney at Outten & Golden LLP, which, together with Towards

   Justice, the Law Office of R. Andrew Free, Milstein Law Office, The Kelman Buescher

   Firm, P.C., and Meyer Law Office, P.C., are Plaintiffs’ and Class Counsel in this action.

   I am an attorney in good standing admitted to practice before this Court.

          2.        I have been one of the lawyers primarily responsible for the prosecution of

   Plaintiffs’ and the Class’s claims in this case.
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          3.     I make the statements in this Declaration based on my personal knowledge

   and would so testify if called as a witness at trial.

   D. Colo. L. Civ. R. 7.1(a) Statement

          4.     The parties met and conferred to attempt to resolve their disputes over the

   issues raised in this motion on several occasions, beginning on May 9, 2019.

          30(b)(6) Deposition

          5.     GEO took the position throughout the meet-and-confer process that

   Plaintiffs were required to seek leave of Court to take a Rule 30(b)(6) deposition, because

   Plaintiffs previously took a deposition during class certification discovery.

          6.     Plaintiffs’ position was that the Court had clearly bifurcated class and

   merits discovery, and that the earlier deposition was without prejudice to Plaintiffs’ right

   to take a subsequent deposition on the merits of the case. In addition, Plaintiffs provided

   GEO’s counsel with correspondence from prior GEO counsel objecting to the scope of

   the earlier class certification deposition on the ground that the noticed topics went beyond

   the scope of class certification issues.

          7.     Notwithstanding these exchanges, GEO continued to maintain its position

   that because there had been no explicit agreement between counsel that the depositions

   were limited in scope, GEO was not required to designate a 30(b)(6) witness absent a

   court order requiring it to do so. In a May 17, 2019 letter to Plaintiffs’ Counsel, GEO did

   not rebut Plaintiffs’ representation that the prior deposition had been limited in scope, but

   wrote that, “Plaintiffs did not preserve this issue anywhere in in the Amended Notice of

   30(b)(6) deposition served on March 9, 2016, or on the record of the depositions of the

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   corporate designees already deposed.”

          8.     On May 22, 2019, the parties met and conferred again and confirmed that

   they were at an impasse with respect to whether GEO would produce a 30(b)(6) witness.

          Site Inspection

          9.     During the parties’ meet-and-confer efforts, GEO objected to the scope of

   the inspection request. While it did not object to a site inspection per se, GEO objected

   to the inspection being either photographed or videotaped, citing security concerns.

          10.    In correspondence dated April 26, 2019, GEO cited portions of its contract

   with ICE that prohibited disclosure of “sensitive information,” defined by the contract in

   pertinent part as “any information which could affect the national interest, law

   enforcement activities, the conduct of federal programs, or the privacy to which

   individuals are entitled under Title 5, U.S. Code, Section 552a.” GEO’s letter did not

   elaborate on what “sensitive information” would be disclosed by a site inspection, or why

   recording that disclosure would be different from an unrecorded disclosure.

          11.    During the May 9, 2019 conference call, the parties agreed that they would

   continue to negotiate what areas of the GEO facility would be subject to inspection in an

   effort to narrow the areas in dispute.

          12.    In a subsequent exchange of correspondence, the parties exchanged

   proposals for areas of the facility to be included, and Plaintiffs provided case law

   supporting their position that the inspection should be videotaped. On a May 22, 2019

   call, GEO informed Plaintiffs that it could agree to most of the requested areas, and

   confirmed that the parties had largely reached agreement with respect to the areas for

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   inspection pending final confirmation.

          13.    During the May 22, 2019 call, Plaintiffs offered to blur the faces of any

   detainees who appeared in the inspection video and to work with GEO on means to

   address their safety and security concerns. Plaintiffs also reminded GEO of the

   protective order already in place restricting use of materials designated “Confidential” or

   “Highly Confidential” and forbidding their disclosure to the public.

          14.    However, GEO maintained the position that no video could be recorded due

   to security concerns, notwithstanding any measures to offset those concerns. GEO did

   not provide any further detail about its specific security concerns in a way that would

   enable Plaintiffs to offer ways to address them.


   Dated: New York, NY
          May 30, 2019
                                                    Respectfully submitted,

                                                    By: /s/Michael Scimone____
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                                                    Class Counsel




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